  AO 245 B     (Rev. 09/11) Judgment in a Criminal Case
               Sheet 1



                                          UNITED STATES DISTRICT COURT
                                                            Northern District of Iowa
                                                                                         )
                    UNITED STATES OF AMERICA                                             ) JUDGMENT IN A CRIMINAL CASE
                               v.                                                        )
                                                                                         )
                           KAEISHA ROBINSON                                              ) Case Number:     0862 1:15CR00071-001
                                                                                         ) USM Number: 61575-408
                                                                                         )
                                                                                         ) Jill M. Johnston
                                                                                           Defendant’s Attorney
THE DEFENDANT:
                                     21 of the Indictment filed on July 29, 2015, and Counts 25 and 26 of the Information filed on August
   pleaded guilty to count(s)
                                     29, 2016
   pleaded nolo contendere to count(s)
   which was accepted by the court.
   was found guilty on count(s)
   after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                   Nature of Offense                                                               Offense Ended           Count
18 U.S.C. § 641                   Theft of Government Property                                                    02/01/2012                21
                                                                                                                                       (Indictment)

18 U.S.C. § 1028A                 Aggravated Identity Theft                                                       01/26/2012                25
                                                                                                                                      (Information)

18 U.S.C. § 1001(a)(1)            False Statements                                                                07/01/2013                26
                                                                                                                                      (Information)



       The defendant is sentenced as provided in pages 2 through                    6       of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
    The defendant has been found not guilty on count(s)
                1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 13, 14, 15, 16, 17,
    Count(s)                                                                        is            are dismissed on the motion of the United States.
                18, 19, 20, 22, 23, and 24 of the Indictment

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                             December 28, 2016
                                                                             Date of Imposition of Judgment




                                                                             Signature of Judge



                                                                             Linda R. Reade
                                                                             Chief U.S. District Court Judge
                                                                             Name and Title of Judge

                                                                             December 29, 2016
                                                                             Date

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AO 245 B     (Rev. 09/11) Judgment in a Criminal Case
             Sheet 2 – Imprisonment
                                                                                                          Judgment — Page   2       of   6
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                                                                 IMPRISONMENT

       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
       84 months. This term of imprisonment consists of a 60-month term imposed on each of Count 21 of the Indictment and
       Count 26 of the Information, to be served concurrently, and a 24-month term imposed on Count 25 of the Information, to
       be served consecutively to the terms imposed on Counts 21 and 26. The term of imprisonment for the instant offense is
       ordered to run consecutively to the undischarged term of imprisonment imposed in the Iowa District Court for Scott
       County, Case No. FECR353308, pursuant to USSG §5G1.3(d).




           The court makes the following recommendations to the Bureau of Prisons:
           That the defendant be designated to a Bureau of Prisons facility as close to the defendant’s family as possible, commensurate
           with the defendant’s security and custody classification needs.

           That the defendant participate in the Bureau of Prisons’ 500-Hour Comprehensive Residential Drug Abuse Treatment
           Program or an alternate substance abuse treatment program.




           The defendant is remanded to the custody of the United States Marshal.
           The defendant shall surrender to the United States Marshal for this district:
               at                                         a.m.         p.m.       on                                            .
               as notified by the United States Marshal.

           The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
               before 2 p.m. on                                               .
               as notified by the United States Marshal.
               as notified by the Probation or Pretrial Services Office.

                                                                      RETURN
I have executed this judgment as follows:




           Defendant delivered on                                                            to
at                                                      , with a certified copy of this judgment.


                                                                                                       UNITED STATES MARSHAL



                                                                              By
                                                                                                    DEPUTY UNITED STATES MARSHAL


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AO 245 B    (Rev. 09/11) Judgment in a Criminal Case
            Sheet 3 – Supervised Release
                                                                                                        Judgment—Page         3   of         6
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                                                       SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of: 3 years. This term of supervised release
consists of a 3-year term imposed on each of Count 21 of the Indictment and Count 26 of the Information, and a 1-year term
imposed on Count 25 of the Information, all to be served concurrently.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the custody
of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
       The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of future
       substance abuse. (Check, if applicable.)
       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
       The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
       The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
       as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
       works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)
       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the Schedule
of Payments sheet of this judgment.
 The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions on
the attached page.

                                         STANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
        a felony, unless granted permission to do so by the probation officer;
 10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
        any contraband observed in plain view of the probation officer;
 11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
 13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
        record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
        defendant’s compliance with such notification requirement.



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AO 245 B   (Rev. 09/11) Judgment in a Criminal Case
            Sheet 3C — Supervised Release                                                            (NOTE: Identify Changes with Asterisks (*))
                                                                                              Judgment—Page           4       of         6
DEFENDANT:                  KAEISHA ROBINSON
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                                         SPECIAL CONDITIONS OF SUPERVISION
The defendant must comply with the following special conditions as ordered by the Court and implemented by the U.S. Probation Office:

  1) The defendant must participate in and successfully complete a program of testing and treatment for substance abuse.

  2) The defendant must not use alcohol and is prohibited from entering any establishment that holds itself out to the public to be
     a bar or tavern.

  3) The defendant must participate in a mental health evaluation and/or treatment program. The defendant must take all
     medications prescribed to the defendant by a licensed psychiatrist or physician.

  4) The defendant must pay any financial penalty that is imposed by this judgment.

  5) For as long as the defendant owes any fines or restitution ordered as part of the instant offense, the defendant must provide
     the United States Probation Office with access to any requested financial information.

  6) For as long as the defendant owes any fines or restitution ordered as part of the instant offense, the defendant must not incur
     new credit charges or open additional lines of credit without the approval of the United States Probation Office unless the
     defendant is in compliance with the installment payment schedule.

  7) The defendant must not have contact during the defendant’s term of supervision with the victim set forth in paragraph 113
     of the presentence report, in person or by a third party. This includes no direct or indirect contact by telephone, mail, email,
     or by any other means.

  8) The defendant must submit to a search of the defendant’s person, residence, adjacent structures, office or vehicle, conducted
     by a United States Probation Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of
     contraband or evidence of a violation of a condition of release. Failure to submit to a search may be grounds for revocation.
     The defendant must warn any other residents that the residence or vehicle may be subject to searches pursuant to this
     condition. This condition may be invoked with or without the assistance of law enforcement, including the United States
     Marshals Service.

Upon a finding of a violation of supervision, I understand the Court may: (1) revoke supervision; (2) extend the term of supervision;
and/or (3) modify the condition of supervision.

These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



       Defendant                                                                                               Date



       U.S. Probation Officer/Designated Witness                                                               Date




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AO 245 B   (Rev. 09/11) Judgment in a Criminal Case
           Sheet 5 – Criminal Monetary Penalties

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DEFENDANT:                         KAEISHA ROBINSON
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                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                      Assessment                                        Fine                                     Restitution
TOTALS             $ 300                                             $ 0                                      $ 348,523

     The determination of restitution is deferred until                 . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
     in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be
     paid before the United States is paid.

Name of Payee                                         Total Loss*                  Restitution Ordered                     Priority or Percentage
Eastern Iowa Regional
                                                                                               $12,143                               1
Housing Authority

Internal Revenue Service                                                                      $336,380                               2




TOTALS                                                                                        $348,523

      Restitution amount ordered pursuant to plea agreement $

      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

      The court determined that the defendant does not have the ability to pay interest and it is ordered that:

           the interest requirement is waived for the          fine            restitution.

           the interest requirement for the           fine          restitution is modified as follows:
* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.




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AO 245 B   (Rev. 09/11) Judgment in a Criminal Case
           Sheet 6 – Criminal Monetary Penalties
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                                                        SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A          Lump sum payment of $                      300      due immediately, balance due

                 not later than                                     , or
                 in accordance with                    C,        D,               E, or           F below; or

B          Payment to begin immediately (may be combined with                          C          D, or            F below); or

C          Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                           over a period of
                          (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

D          Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                        over a period of
                          (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E          Payment during the term of supervised release will commence within                   (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F          Special instructions regarding the payment of criminal monetary penalties:
           While incarcerated, the defendant must make monthly payments in accordance with the Bureau of Prisons Financial
           Responsibility Program. The amount of the monthly payments will not exceed 50% of the funds available to the
           defendant through institution or non-institution (community) resources and will be at least $25 per quarter. If the
           defendant still owes any portion of the financial obligation(s) at the time of release from imprisonment, the defendant
           must pay it as a condition of supervision and the United States Probation Office will pursue collection of the amount
           due, and will request the Court to establish a payment schedule if appropriate. For as long as the defendant owes any
           fines or restitution ordered as part of the instant offense, the defendant must notify the United States Attorney for the
           Northern District of Iowa within 30 days of any change of the defendant's mailing or residence address that occurs while
           any portion of the financial obligation(s) remains unpaid.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

     Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.



     The defendant shall pay the cost of prosecution.

     The defendant shall pay the following court cost(s):

     The defendant shall forfeit the defendant’s interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.


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